           Case 2:24-cr-00091-ODW             Document 127 Filed 09/23/24         Page 1 of 1 Page ID
                                                      #:1501
                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
                                          CRIMINAL MINUTES - GENERAL




 Case No.       CR 24-00091-ODW                                                       Date   September 23, 2024


 Present: The
 Honorable                   OTIS D. WRIGHT II, UNITED STATES DISTRICT JUDGE
 Interpreter

            Sheila English                        Court Smart                   Derek E. Hines/ Leo J. Wise
            Deputy Clerk                  Court Reporter/Recorder                  Assistant U.S. Attorney


                                                                            Attorneys for
 U.S.A. v. Defendant(s):            Present          Cust.      Bond                               Present App. Ret.
                                                                            Defendants:

                                                                       David Z Chesnoff/                X    X
Alexander Smirnov                     X               X                Richard A Schonfeld              X    X


 Proceedings:       MOTION TO DISMISS COUNTS TWO [107]

         Case called, appearances made. The Court having carefully considered the papers and the
         evidence submitted by the parties, and having heard the oral argument of counsel. The Court
         DENIES the motion.




                                                                                                    :       12
                                                                 Initials of Deputy           se
                                                                              Clerk




CR-11 (10/08)                                  CRIMINAL MINUTES - GENERAL                                        Page 1 of 1
